                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                    Civil Action No. 3:22-cv-630-MOC-DSC

 SARA BETH WILLIAMS, BRUCE               )
 KANE, JASON YEPKO, GUN                  )
 OWNERS OF AMERICA, INC.,                )
 GUN OWNERS FOUNDATION,                  )
 GRASS ROOTS NORTH                       )
 CAROLINA, and RIGHTS WATCH              )
 INTERNATIONAL,                          )
                                         )
                      Plaintiffs,        )
                                         )
 v.                                      )
                                         ) ANSWER TO COMPLAINT
 SHERIFF GARRY MCFADDEN, in              )
 his official capacity as Sheriff of     )
 Mecklenburg County, and the             )
 MECKLENBURG COUNTY                      )
 SHERIFF’S OFFICE                        )
                                         )
                      Defendants.        )




       Defendant Garry McFadden, in his official capacity as Sheriff of Mecklenburg

County and the sole remaining defendant in the above-captioned case, answers

Plaintiffs’ Complaint as follows:




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                           JURISDICTION AND VENUE

        1.     Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the allegations of this paragraph.

        2.     Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the allegations of this paragraph.

                                          PARTIES

        3.     Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the allegations of this paragraph.

        4.     Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the allegations of this paragraph.

        5.     Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the allegations of this paragraph.

        6.     Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the allegations of this paragraph.

        7.     Defendant admits only that after receipt of the items listed in N.C.G.S.

§ 14-415.13 and receipt of the required records concerning her mental health or

capacity, Sara Beth Williams’ CHP was approved on November 18, 2022. Except

as so admitted, Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the remaining allegations of this paragraph.




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        8.     Defendant admits only that after receipt of the items listed in N.C.G.S.

§ 14-415.16, and receipt of the required records concerning his mental health or

capacity, Bruce Kane’s CHP renewal was approved on January 6, 2023. Except as

so admitted, Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the remaining allegations of this paragraph.

        9.     Defendant admits only that after receipt of the items listed in N.C.G.S.

§ 14-415.16, and receipt of the required records concerning his mental health or

capacity, Jason Yepko’s CHP renewal was approved on November 16, 2022.

Except as so admitted, Defendant lacks sufficient knowledge or information to form

a belief as to the truth of the remaining allegations of this paragraph.

        10. Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the allegations of this paragraph.

        11. Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the allegations of this paragraph.

        12. Defendant admits the allegations of this paragraph.

        13. Defendant denies the allegations of this paragraph.

        14. Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the allegations of this paragraph.

        15. Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the allegations of this paragraph.


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                               STATEMENT OF FACTS

        16. Defendant admits the allegations of this paragraph.

        17. Defendant admits only that a suit was filed in Mecklenburg County

Superior Court entitled Gun Owners of America v. McFadden, 21 CVS 12654.

Except as so admitted, Defendant denies the remaining allegations of this

paragraph.

        18. Defendant admits the allegations of this paragraph.

        19. Defendant denies the allegations of this paragraph.

        20. Defendant denies the allegations of this paragraph.

        21. Defendant denies the allegations of this paragraph.

        22. Defendant denies the allegations of this paragraph.

        23. Defendant denies the allegations of this paragraph.

        24. Defendant denies the allegations of this paragraph.

        25. Defendant admits the allegations of this paragraph.

        26. Defendant admits only that in District of Columbia v. Heller, the United

States Supreme Court held that the Second Amendment conferred upon an

individual the right to keep and bear arms in the home. Except as so admitted,

Defendant lacks sufficient information or knowledge to form a belief about the

remaining allegations of this paragraph.

        27. Defendant admits the allegations of this paragraph.


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        28. Defendant admits only that Plaintiffs have accurately cited to Justice

Alito’s concurrence in Caetano v. Massachusetts. Except as so admitted, Defendant

lacks sufficient knowledge or information to form a belief about the remaining

allegations of this paragraph.

        29. Defendant admits only that in Bruen, the United States Supreme Court

held that when the Second Amendment’s plaint text covers an individual’s conduct,

the Constitution presumptively protects that conduct, and the government must

justify its regulation by demonstrating that the regulation is consistent with the

Nation’s historical treatment of firearm regulation. Except as so admitted,

Defendant lacks sufficient information or knowledge to form a belief about the

remaining allegations of this paragraph.

        30. Defendant admits the allegations of this paragraph.

        31. Defendant admits only that prior to Bruen, the Fourth Circuit employed

a two- part approach in Second Amendment challenges. Except as so admitted,

Defendant lacks sufficient information or knowledge to form a belief about the

remaining allegations of this paragraph.

        32. Defendant admits only that in Bruen, the United States Supreme Court

held that when the Second Amendment’s plaint text covers an individual’s conduct,

the Constitution presumptively protects that conduct, and the government must

justify its regulation by demonstrating that the regulation is consistent with the


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Nation’s historical treatment of firearm regulation. Except as so admitted,

Defendant lacks sufficient information or knowledge to form a belief about the

remaining allegations of this paragraph.

        33. Defendant admits the allegations of this paragraph.

        34. Defendant admits the allegations of this paragraph.

        35. Defendant admits only that in Bruen, the United States Supreme Court

held that when the Second Amendment’s plaint text covers an individual’s conduct,

the Constitution presumptively protects that conduct, and the government must

justify its regulation by demonstrating that the regulation is consistent with the

Nation’s historical treatment of firearm regulation. Except as so admitted,

Defendant lacks sufficient information or knowledge to form a belief about the

remaining allegations of this paragraph.

        36. Defendant lacks sufficient information or knowledge to form a belief

about the allegations of this paragraph.

        37. Defendant lacks sufficient information or knowledge to form a belief

about the allegations of this paragraph.

        38. Defendant admits the allegations of this paragraph.

        39. Defendants admit the allegations of this paragraph.

        40. Defendant admits the allegations of this paragraph.




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        41. Defendant admits only that foonote 9 in Bruen is accurately stated.

Except as so admitted, Defendant denies the remaining allegations of this

paragraph.

        42. Defendant admits the allegations of this paragraph.

        43. Defendant admits that the provisions of 18 U.S.C. §§ 922 (t)(1)(B)(ii)

and (1)(C) are accurately stated. Except as so admitted, Defendant lacks sufficient

knowledge or information to form a belief about the truth of the remaining

allegations of this paragraph.

        44. Defendant admits the allegations of this paragraph.

        45. Defendant lacks sufficient information or knowledge to form a belief

about the truth of the allegations of this paragraph.

        46. Defendant admits only that N.C.G.S. § 14-409.43 is accurately stated.

Except as so admitted, Defendant lacks sufficient knowledge or information to form

a belief about the remaining allegations of this paragraph.

        47. Defendant admits the allegations of this paragraph.

        48. Defendant denies the allegations of this paragraph.

        49. Defendant lacks sufficient information or knowledge to form a belief

about the allegations of this paragraph.

        50. Defendant denies the allegations of this paragraph.

        51. Defendant admits the allegations of this paragraph.


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        52. Defendant admits the allegations of this paragraph.

        53. Defendant admits the allegations of this paragraph.

        54. Defendant admits the allegations of this paragraph.

        55. Defendant admits the allegations of this paragraph.

        56. Defendant admits the allegations of this paragraph.

        57. Defendant admits only that N.C.G.S. § 14-415.13 is accurately stated.

Except as so admitted, Defendant denies the remaining allegations of this

paragraph.

        58. Defendant admits the allegations of this paragraph.

        59. Defendant lacks sufficient knowledge or information to form a belief

about the allegations of this paragraph.

        60. Defendant denies the allegations of this paragraph.

        61. Defendant lacks sufficient knowledge or information to form a belief

about the allegations of this paragraph.

        62. Defendant admits the allegations of this paragraph.

        63. Defendant admits the allegations of this paragraph.

        64. Defendant denies the allegations of this paragraph.

        65. Defendant admits the allegations of this paragraph.

        66. Defendant lacks sufficient knowledge or information to form a belief

about the allegations of this paragraph.


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        67. Defendant denies the allegations of this paragraph.

        68. Defendant denies the allegations of this paragraph.

        69. Defendant admits the allegations of this paragraph.

        70. Defendant admits the allegations of this paragraph.

        71. Defendant admits the allegations of this paragraph.

        72. Defendant admits allegations of this paragraph.

        73. Defendant denies the allegations of this paragraph.

        74. Defendant lacks sufficient knowledge or information to form a belief

about the allegations of this paragraph.

        75. Defendant admits only that Sara Beth Williams’ CHP was approved on

November 18, 2022. Except as so admitted, Defendant lacks sufficient knowledge

or information to form a belief as to the truth of the remaining allegations of this

paragraph.

        76. Defendant denies the allegations of this paragraph.

        77. Defendant lacks sufficient knowledge or information to form a belief

about the allegations of this paragraph.

        78. Defendant lacks sufficient knowledge or information to form a belief

about the allegations of this paragraph.

        79. Defendant lacks sufficient knowledge or information to form a belief

about the allegations of this paragraph.


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        80. Defendant denies the allegations of this paragraph.

        81. Defendant admits only that he requests VA records for all applicants to

determine if they suffer from a physical or mental infirmity that prevents their safe

handling of a handgun pursuant to N.C.G.S. § 14-415.12(a)(3). Except so admitted,

Defendant denies the remaining allegations of this paragraph.

        82. Defendant denies the allegations of this paragraph.

        83. Defendant denies the allegations of this paragraph.

        84. Defendant lacks sufficient information or knowledge to form a belief

about the remaining allegations of this paragraph.

        85. Defendant lacks sufficient information or knowledge to form a belief

about the remaining allegations of this paragraph.

        86. Defendant lacks sufficient information or knowledge to form a belief

about the remaining allegations of this paragraph.

        87. Defendant lacks sufficient information or knowledge to form a belief

about the remaining allegations of this paragraph.

        88. Defendant lacks sufficient information or knowledge to form a belief

about the remaining allegations of this paragraph.

        89. Defendant lacks sufficient information or knowledge to form a belief

about the remaining allegations of this paragraph.




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        90. Defendant lacks sufficient information or knowledge to form a belief

about the remaining allegations of this paragraph.

        91. Defendant admits that Bruen’s footnote 9 is accurately stated. Except

as so admitted, Defendant denies the remaining allegations of this paragraph.

        92. Defendant admits only that he has access to NICS, and runs a NICS

check prior to issuing a CHP. Except as so admitted, Defendant denies the

remaining allegations of this paragraph.

        93. Defendant denies the allegations of this paragraph.

        94. Defendant denies the allegations of this paragraph.

        95. Defendant denies the allegations of this paragraph.

                                         COUNT I

        96. No response is necessary for this paragraph.

        97. Defendant denies the allegations of this paragraph.

        98. Defendant lacks sufficient knowledge or information to form a belief

as to the truth of the allegations of this paragraph.

        99. Defendant admits the allegations of this paragraph.

        100. Defendant denies the allegations of this paragraph.

        101. Defendant denies the allegations of this paragraph.

        102. Defendant denies the allegations of this paragraph.

        103. Defendant denies the allegations of this paragraph.


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                                        COUNT II

        104. No response is necessary for this paragraph.

        105. This claim has been dismissed by the Court so this allegation is denied.

        106. This claim has been dismissed by the Court so this allegation is denied.

        107. This claim has been dismissed by the Court so this allegation is denied.

        108. This claim has been dismissed by the Court so this allegation is denied.

        109. This claim has been dismissed by the Court so this allegation is denied.

                                        COUNT III

        110. No response is necessary for this paragraph.

        111. This claim has been dismissed by the Court so this allegation is denied.

        112. This claim has been dismissed by the Court so this allegation is denied.

        113. This claim has been dismissed by the Court so this allegation is denied.

        114. This claim has been dismissed by the Court so this allegation is denied.

        115. This claim has been dismissed by the Court so this allegation is denied.

        116. This claim has been dismissed by the Court so this allegation is denied.

                                        COUNT IV

        117. No response is necessary for this paragraph.

        118. This claim has been dismissed by the Court so this allegation is denied.

        119. This claim has been dismissed by the Court so this allegation is denied.

        120. This claim has been dismissed by the Court so this allegation is denied.


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        121. This claim has been dismissed by the Court so this allegation is denied.

        122. This claim has been dismissed by the Court so this allegation is denied.

        123. This claim has been dismissed by the Court so this allegation is denied.

        124. This claim has been dismissed by the Court so this allegation is denied.

        125. This claim has been dismissed by the Court so this allegation is denied.

        126. This claim has been dismissed by the Court so this allegation is denied.

       WHEREFORE, Defendant requests that Plaintiff take nothing by way of their

Complaint, for trial by jury, and for any other relief deemed appropriate by the Court.

       This 15th day of August 2023.


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